2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 1 of 8




                                                                            Salley 569
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 2 of 8




                                                                            Salley 570
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 3 of 8




                                                                            Salley 571
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 4 of 8




                                                                            Salley 572
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 5 of 8




                                                                            Salley 573
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 6 of 8




                                                                            Salley 574
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 7 of 8




                                                                            Salley 575
2:10-cv-00791-DCN   Date Filed 07/06/10   Entry Number 16-4   Page 8 of 8




                                                                            Salley 576
